463 F.2d 252
    Margaret Kistler PETER et al.v.Phillip F. ARRIEN, Deputy Commissioner United StatesEmployees Compensation Commission, ThirdCompensation District and PublicContracting Co., InterveningDefendant, Appellant.
    No. 71-1529.
    United States Court of Appeals,
    Third Circuit.
    Argued April 11, 1972.Decided May 12, 1972.As Amended July 26, 1972.
    
      Laurence Reich, Carpenter, Bennett &amp; Morrissey, Newark, N. J., for appellant.
      Milton M. Borowsky, Freedman, Borowsky &amp; Lorry, Philadelphia, Pa., for appellee.
      Before HASTIE, VAN DUSEN and ALDISERT, Circuit Judges.
      OPINION OF THE COURT
      PER CURIAM:
    
    
      1
      The district court held that the widow and dependent children of Ralph Peter were entitled to compensation for his death under the Longshoremen's and Harbor Workers' Compensation Act, 33 U.S.C. Sec. 901.  This appeal challenges that decision.
    
    
      2
      Peter was employed by a contractor engaged in the demolition of a bridge over navigable water of the Delaware River.  He drowned when a crane he was operating on a temporary causeway, built for the purposes of this project from the shore out into the stream, toppled into the river.
    
    
      3
      For reasons stated in the opinion of the district court, 325 F.Supp. 1361, we are satisfied that the circumstances of Peter's employment and death bring the present claim within the coverage of the Longshoremen's Act and that, in the circumstances of this case, the acceptance of payments under a state compensation statute did not preclude recovery under the federal statute.1
    
    
      4
      The judgment will be affirmed.
    
    
      
        1
         Recovery was limited to the amount by which benefits under the federal statute exceed those allowed under the state statute
      
    
    